        Case 1:25-cv-00604-CJN            Document 14-2     Filed 03/10/25      Page 1 of 16




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


MAIKER ALEJANDRO ESPINOZA
ESCALONA, et al.,

        Plaintiffs,

v.                                                           Civil Action No. 25-00604

KRISTI NOEM
Secretary of Homeland Security, et al.,

        Defendants.



                           DECLARATION OF JUAN LOPEZ-VEGA

         I, Juan Lopez Vega, declare the following under 28 U.S.C. § 1746, and state that under

  penalty of perjury the following is true and correct to the best of my knowledge and belief:

  1. I am employed by U.S. Department of Homeland Security (DHS), U.S. Immigration and

      Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), as the Deputy

      Field Office Director (DFOD) in Miami, Florida. I have held this position since

      February 9, 2024. Since February 28, 2025, I have been serving as the Acting Field Office

      Director ((A)FOD). As (A)FOD, I am responsible for the oversight of the ERO Miami Area

      of Responsibility (AOR). At the ERO Miami Field Office, I manage ERO personnel and

      provide oversight of ICE operations in detention facilities housing ICE detainees. My

      responsibilities include overseeing ERO enforcement operations overseeing and detention

      facility operations within the Miami AOR, including those at the U.S. Naval Station

      Guantanamo Bay (NSGB) in Guantanamo Bay, Cuba.

  2. I provide this declaration based on my personal knowledge, reasonable inquiry, and




                                                  1
     Case 1:25-cv-00604-CJN           Document 14-2        Filed 03/10/25      Page 2 of 16




   information obtained from various records, systems, databases, other DHS employees, and

   information portals maintained and relied upon by DHS in the regular course of business.

3. I am aware that this litigation, Espinoza Escalona v. Noem, 1:25-cv-00604 (D.D.C. filed

   Mar. 1, 2025), has been filed in the U.S. District Court for the District of Columbia.

4. I am also aware that litigation, Las Americas Immigrant Advocacy Ctr. v. Noem, No. 1:25-cv-

   418 (D.D.C. filed Feb. 12, 2025), has been filed in the U.S. District Court for the District of

   Columbia. I have reviewed Acting Field Office Director Juan Agudelo’s Declaration (DOC

   No. 14-1, filed Feb. 20, 2025), attached as Exhibit A, and provide supplemental information

   within this declaration.

5. On January 29, 2025, President Donald J. Trump signed a memorandum directing the

   Department of Defense (DoD) and DHS to expand the Migrant Operations Center (MOC) at

   NSGB.

6. NSGB will temporarily house aliens with final orders of removal before they are removed to

   their home country or a safe alternative country. The use of NSGB supports the ongoing

   removal operations due to the number of illegal aliens present in the United States and the

   current and ever-evolving availability of detention space in ICE detention facilities or other

   contracted detention facilities to house aliens for civil immigration purposes. The ongoing

   mandate of the Administration to execute the immigration laws of the United States requires

   the use of all available detention options. Available detention space fluctuates due to, for

   example, contracting issues, state laws, and injunctions issued by federal district courts.

7. A total of 290 aliens have been transferred to NGSB.

8. As of March 7, 2025, there are 40 aliens housed at NSGB. Seventeen (17) of those aliens are

   housed at the MOC, and 23 aliens are housed at Camp VI. All 40 aliens have final orders of




                                                 2
     Case 1:25-cv-00604-CJN          Document 14-2        Filed 03/10/25      Page 3 of 16




   removal. None of the 40 are Venezuelan. Although DHS first used NSGB to stage a removal

   mission for 178 aliens with final orders of removal to Venezuela, NSGB has since housed

   aliens originating from 27 distinct countries and is being used for a variety of removal

   missions.

General Policies and Care at NSGB

9. All aliens housed at NSGB are treated with dignity and respect. Mistreatment is not tolerated.

   Any allegation of mistreatment would be properly investigated and handled appropriately.

10. Defendants are providing immigration detainees with access to counsel, nutrition, and

   medical care in a manner not inconsistent with other ICE detention facilities.

11. Attorney-client phone calls for detainees at NSGB will take place between Monday and

   Friday 8 a.m. – 5 p.m. EST, and Saturday through Sunday from 10 a.m. – 2 p.m. EST with no

   time limitations, subject to detainee population numbers and phone availability.

12. Written notice of the right to contact counsel is posted in Camp VI and the MOC and

   distributed to each incoming alien. The notice is currently available in both English and

   Spanish. ERO will continue to assess whether additional translations become necessary. A

   copy of the notice provided to detainees is attached as Exhibit B to this declaration.

13. The notice lists a toll-free number for the American Bar Association (ABA) Information

   Line, which has Spanish language capability. A legal representative from the ABA can

   request a pre-representational phone call with the detainee by emailing

   Legal.GTMO@ice.dhs.gov, pursuant to the procedures outlined at

   https://www.ice.gov/detain/detention-facilities/naval-station-guantanamo-bay.

14. Detainees at Camp VI and the MOC can request to speak with their counsel or with a

   representative from the ABA Information Line by filling out and submitting a detainee




                                                3
      Case 1:25-cv-00604-CJN          Document 14-2        Filed 03/10/25      Page 4 of 16




   request form to an ICE officer or ICE contract security officer. ICE contract security officers

   will transmit submitted detainee request forms to ICE personnel, who will then review the

   detainees’ requests in the order that they are submitted. Detainees’ requests for phone calls

   will be accommodated generally within 24 hours of the submitted request. A copy of the

   detainee request form is attached as Exhibit C to this declaration.

15. Attorneys can follow the procedures outlined at https://www.ice.gov/detain/detention-

   facilities/naval-station-guantanamo-bay to request a legal call with a detainee. Representation

   and pre-representational call requests are permitted.

16. Attorney calls are confidential and will not be audio-monitored. During the call, a security

   officer will visually monitor the detainee.

17. The ICE Detainee Locator has been updated to reflect the current location of aliens who are

   currently housed at the MOC and Camp VI.

18. Attorneys can follow the procedures outlined at https://www.ice.gov/detain/detention-

   facilities/naval-station-guantanamo-bay to send emails to detainees. All correspondence must

   be sent to Legal.GTMO@ice.dhs.gov and cannot contain more than 20 pages. All documents

   will be inspected for contraband but not read. Electronic communication requests will be

   processed between Monday and Friday 8 a.m. – 4 p.m. EST. ICE personnel will print and

   provide copies of the documents to the detainees.

19. Legal mail will be delivered to NSGB on a weekly basis via the Defense Courier Service,

   consistent with the procedures used in habeas proceedings involving law of war detainees.

   ERO provides all detainees with access to pens and paper.

20. The Joint Task Force Guantanamo and DHS are not accommodating requests for in-person

   visits with the immigration detainees at this time due to the extensive logistical challenges




                                                 4
     Case 1:25-cv-00604-CJN           Document 14-2        Filed 03/10/25      Page 5 of 16




   with such visits, the potential need for counsel to possess security clearances, the anticipated

   short-term stay of the immigration detainees, and the potential for a very high volume of

   counsel to request to conduct such visits. They will continue to evaluate the feasibility and

   necessity of authorizing counsel travel to NSGB for in-person visits between hired attorneys

   and their clients as the mission develops.

21. Detainees at Camp VI and the MOC can request to schedule calls with family by filling out

   and submitting a detainee request form to an ICE officer or ICE contract security officer.

   Family calls are audio monitored by security personnel.

22. Aliens housed at the MOC and Camp VI receive three nutritionally adequate hot meals per

   day.

23. All housing units at the MOC and Camp VI are air-conditioned to ensure that aliens are not

   subject to extreme temperatures during their stay. Temperatures at both the MOC and Camp

   VI are generally kept between 69-74° Fahrenheit to control humidity and moisture levels.

   Extra blankets are available upon request.

24. ICE does not conduct strip searches at either the MOC or Camp VI. DoD does conduct, with

   ICE personnel present, strip searches on aliens entering Camp VI for the first time. ICE

   conducts pat-down searches as part of intake procedures to ensure that no contraband is

   introduced into the facility. Pat-down searches are also conducted whenever aliens leave their

   assigned housing units.

25. Aliens housed at the MOC and Camp VI have freedom of movement without use of restraints

   within their housing units.

26. Before being transferred to NSGB, aliens are prescreened for medical issues.

Migrant Operations Center (MOC)




                                                 5
      Case 1:25-cv-00604-CJN          Document 14-2        Filed 03/10/25      Page 6 of 16




27. At the MOC, aliens are currently housed in a building with dormitory style housing units,

   with each unit accommodating 6 to 7 individuals. Each unit is equipped with its own

   bathroom, sink, and shower. Each unit has a window. Each alien is assigned his own bed.

28. Aliens at the MOC are afforded outdoor recreation time daily. The allotted outdoor recreation

   time for each alien may vary depending on certain factors, such as the weather and/or size of

   the population.

29. At the MOC, aliens are provided with potable water upon request. Aliens at the MOC also

   have access to drinking water at a communal water fountain.

30. Aliens at the MOC are guarded by ICE contract security staff.

31. Restraints are generally not used within the MOC absent exigent circumstances and unless

   aliens are being transported beyond the MOC compound.

32. There are two (2) cell phones available for the aliens at the MOC. Currently, there is a plan to

   add additional phone lines.

Camp VI

33. At Camp VI, the facility is designed with POD-style cell blocks across two tiers. Each POD

   contains 11 cells per tier with one individual housed in each cell. Each cell is equipped with a

   bed and its own commode, sink, and water fountain.

34. Aliens housed at Camp VI are provided with potable water upon request. They also have

   ready access to drinking water in their cells.

35. Aliens at Camp VI are guarded by a combination of military personnel, non-uniformed ICE

   personnel, and ICE contract security staff.




                                                    6
      Case 1:25-cv-00604-CJN          Document 14-2        Filed 03/10/25      Page 7 of 16




36. Restraints are generally not used within Camp VI absent exigent circumstances and unless

   aliens are being transported from their cells, such as to medical appointments or to make

   phone calls.

37. Aliens at Camp VI are also afforded daily access to a communal day room, which is naturally

   lighted. The communal day room is equipped with showers, reading materials, pens and

   paper, and accommodations for detainees to have meals together.

38. There are six (6) phones available for detainee phone calls in a building near Camp VI.

Named Plaintiffs

39. I have reviewed the immigration and custody status of the ten (10) named Plaintiffs from the

   Espinoza Escalona v. Noem, 1:25-cv-00604 (D.D.C. filed Mar. 1, 2025) case. All ten (10)

   Plaintiffs have final orders of removal. None were at imminent risk of transfer to NSGB. ICE

   confirms that it will not transfer the 10 Plaintiffs to NSGB through March 17, 2025.



       I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.



Executed this 10th day of March, 2025.



                              ____________________________
                              Juan Lopez-Vega
                              Acting Field Office Director
                              Enforcement and Removal Operations
                              U.S. Immigration and Customs Enforcement
                              U.S. Department of Homeland Security




                                                 7
Case
Case1:25-cv-00604-CJN
     1:25-cv-00418-CJN   Document
                         Document14-2
                                  14-1   Filed
                                         Filed03/10/25
                                               02/20/25   Page
                                                          Page81of
                                                                of16
                                                                   5




             EXHIBIT A
        Case
        Case1:25-cv-00604-CJN
             1:25-cv-00418-CJN            Document
                                          Document14-2
                                                   14-1      Filed
                                                             Filed03/10/25
                                                                   02/20/25      Page
                                                                                 Page92of
                                                                                       of16
                                                                                          5

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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT
ADVOCACY CENTER, et al.,

        Plaintiffs,

v.                                                            Civil Action No. 25-0418

KRISTI NOEM
Secretary of Homeland Security, et al.,

        Defendants.



                                 DECLARATION OF JUAN AGUDELO
         I, Juan Agudelo, declare the following under 28 U.S.C. § 1746, and state that under
  penalty of perjury the following is true and correct to the best of my knowledge and belief:
  1. I am employed by U.S. Department of Homeland Security (DHS), U.S. Immigration and
      Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), as the Deputy
      Field Office Director (DFOD) for Miami, Florida. I have held this position since October 23,
      2022. From January 13, 2025, I began serving as the Acting Field Office Director ((A)FOD).
      As (A)FOD, I am responsible for the oversight of the ERO Miami Area of Responsibility
      (AOR). At the Miami Field Office, I manage ERO personnel and provide oversight of ICE
      operations in detention facilities. My responsibilities include overseeing ERO enforcement
      operations as well as detention facility operations within the Miami AOR.
  2. I provide this declaration based on my personal knowledge, reasonable inquiry, and
      information obtained from various records, systems, databases, other DHS employees, and
      information portals maintained and relied upon by DHS in the regular course of business.
  3. I am aware that this litigation, Las Americas Immigrant Advocacy Ctr. v. Noem, 1:25-cv-
      00418 (D.D.C. filed Feb. 12, 2025), has been filed in the U.S. District Court for the District
      of Columbia.
  4. On January 29, 2025, President Donald J. Trump signed a memorandum directing the



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      Case1:25-cv-00604-CJN
           1:25-cv-00418-CJN Document
                              Document14-2
                                       14-1 Filed
                                             Filed03/10/25
                                                   02/20/25 Page
                                                             Page10
                                                                  3 of 5
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    Department of Defense and Department of Homeland Security to expand the Migrant
    Operations Center (MOC) at the U.S. Naval Station Guantanamo Bay (NSGB) in
    Guantanamo Bay, Cuba.
5. NSGB will temporarily house aliens before they are removed to their home country or a safe
    third country. The use of NSGB is deemed necessary to complete ongoing removal
    operations due to the number of illegal aliens present in the United States and the current and
    ever-evolving availability of detention space in ICE detention facilities or other contracted
    detention facilities to house aliens for civil immigration purposes. Available detention space
    fluctuates due to, for example, contracting issues, state laws, and injunctions issued by
    federal district courts.
6. On February 4, 2025, ICE began transferring aliens with final orders of removal located in
    the continental United States to NSGB. ICE intends to use NSGB as a temporary staging
    facility for aliens being repatriated and expects the average length of stay at the MOC to be
    as limited to the time necessary to effect the removal orders. On February 4, 2025, the first
    flight of 10 aliens departed Fort Bliss, Texas to Guantanamo Bay. These aliens are natives
    and citizens of Venezuela who have final orders of removal, many of whom are believed to
    be part of the transnational criminal organization “Tren de Aragua,” which the United States
    designated as a specially designated global terrorist organization by Federal Register Notice
    on February 20, 2025. These 10 aliens were placed in a complex called Camp VI, which
    houses aliens who are considered to be high security threat.
7. On February 6, 2025, 13 aliens arrived at NSGB and were transferred to Camp VI. There
    were 15 aliens on February 7, 2025, 14 aliens on February 8, 2025, 10 aliens on February 12,
    2025, 13 aliens on February 13, 2025, 15 aliens on February 14, 2025, and 15 aliens on
    February 15, 2025, 15 aliens on February 16, 2025, and 7 aliens on February 17, 2025, who
    arrived at NSGB and were transferred to Camp VI.
8. On February 9, 2025, 15 aliens arrived at NSGB and were transferred to the MOC. There
    were 15 aliens on February 10, 2025, 15 aliens on February 11, 2025, 5 aliens on February
    12, 2025, and 1 alien on February 13, 2025, who arrived at NSGB and were transferred to the



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      Case1:25-cv-00604-CJN
           1:25-cv-00418-CJN Document
                              Document14-2
                                       14-1 Filed
                                             Filed03/10/25
                                                   02/20/25 Page
                                                             Page11
                                                                  4 of 5
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    MOC.
9. One alien who arrived at NSGB on February 8, 2025, was returned to El Paso, Texas on
    February 12, 2025, after an immigration judge granted a motion to reopen the alien’s
    immigration proceedings.
10. There are currently 51 aliens housed at the MOC, and 127 aliens housed at Camp VI. These
    178 aliens at NSGB are all natives and citizens of Venezuela and have final orders of
    removal, including several with expedited removal orders.
11. Venezuela has historically resisted accepting repatriation of its citizens but has recently
    begun accepting removals following high-level political discussions and an investment of
    significant resources. As such, ICE expeditiously removes Venezuelans with final orders of
    removal in ICE custody. 190 aliens were removed from the ERO El Paso field office to
    Venezuela on February 10, 2025.
12. I am familiar with the current process for affording access to counsel for immigration
    detainees at NSGB. Written notice of the right to contact counsel is to be posted and
    distributed to each alien at both Camp VI and the MOC. The notice, now available in
    English, is currently being translated into Spanish. ERO will continue to assess this
    mechanism as the scope of the mission develops.
13. Detainees may request a legal call with a legal representative by submitting a detainee
    request form. Detainees may use the time allotted to speak with a legal representative or try
    to find a legal representative. If a detainee does not have a legal representative, the detainee
    can call the ABA Information Line for a legal referral. ERO requested the ABA provide a
    toll-free number by which detainees may call the ABA Information Line from NSGB, which
    has Spanish language capability. The toll-free number is listed on the notice of the right to
    contact counsel which has been posted at both Camp VI and the MOC.
14. The legal representative of detainees may also file a Form G-28, Notice of Entry of
    Appearance, through the ERO eFile platform on ICE.gov that will notify ICE that a person is
    represented. Legal representatives can request legal calls with their clients by following
    instructions on ICE.gov.



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      Case1:25-cv-00604-CJN
           1:25-cv-00418-CJN Document
                              Document14-2
                                       14-1 Filed
                                             Filed03/10/25
                                                   02/20/25 Page
                                                             Page12
                                                                  5 of 5
                                                                       16




15. For immigration detainees housed at Camp VI, the facility has six telephone lines that are
   installed in separate rooms that offer privacy. Immigration detainees housed at Camp VI will
   be given the opportunity to request a private telephone call with no audio monitoring to their
   lawyers. No detainees in Camp VI have made a request to any DHS officers to speak with a
   lawyer.
16. For immigration detainees housed in MOC, the facility currently offers one private room for
   legal calls. Up to five immigration detainees per day will be permitted a 20-minute phone call
   to their lawyers. Immigration detainees housed at MOC will be given the opportunity to
   request a private telephone call with no audio monitoring to their lawyers. No detainees in
   the MOC have made a request to any DHS officers to speak with a lawyer.
17. I am familiar with the current process for affording access to legal mail for immigration
   detainees housed at NSGB. Legal mailwill be delivered to NSGB on a weekly basis via the
   Defense Courier Service. Similarly, legal mail originating from immigration detainees
   housed at NSGB will be transported to Washington, D.C. on a weekly basis via the Defense
   Courier Service. ERO is currently developing a process to ensure that all ICE detainees have
   access to pens and paper to send mail.


I declare, under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief, as of the time of signature.


Executed this  day of February, 2025.
                                              Digitally signed by JUAN E
                               JUAN E         AGUDELO
                                              Date: 2025.02.20 11:33:24
                               AGUDELO
                               ____________________________
                                              -05'00'



                               Juan Agudelo
                               Acting Field Office Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement
                               U.S. Department of Homeland Security




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Case 1:25-cv-00604-CJN   Document 14-2   Filed 03/10/25   Page 13 of 16




     EXHIBIT B
       Case 1:25-cv-00604-CJN    Document 14-2    Filed 03/10/25   Page 14 of 16


                                                                              CPD | February 2025



Legal Calls at Guantanamo
   This facility can arrange free and confidential legal calls with your
   legal representative, so that you can communicate with them.
   You may request a legal call with a legal representative, by submitting a detainee
   request form. You may use this time to speak with your legal representative or
   try to find a legal representative. On the form you may include your legal
   representative’s name, phone number(s), and email address. If you do not have a
   legal representative, you can also call the ABA Information Line (1-855-641-6081)
   for a legal referral. Your legal representative can also file a Form G-28, Notice of
   Entry of Appearance as Attorney or Accredited Representative through the online
   filing platform ERO eFile, on ICE.gov, which will notify ICE that you are represented.
   Your legal representative can also request legal calls by following instructions on
   ICE.gov. Only visits with your legal representative will be allowed on the call, not
   visits from friends or family.

                    Llamadas Legales en Guantanamo
   Este centro puede coordinar llamadas telefónicas legales, gratis y
   confidenciales, con su representante legal, para que usted pueda
   comunicarse con él.
   Puede solicitar una llamada legal con un representante legal, sometiendo un
   formulario de solicitud de detenido. Puede utilizar este tiempo para hablar con
   su representante legal o tratar de encontrar un representante legal. En el
   formulario puede incluir el nombre, número(s) de teléfono y dirección de correo
   electrónico de su representante legal. Si no tiene un representante legal, también
   puede llamar a la Línea de información de ABA (1-855-641-6081) para que le
   remitan a un abogado. Su representante legal también puede presentar el
   Formulario G-28, Aviso de comparecencia como abogado o representante
   acreditado a través de la plataforma de presentación en línea ERO eFile, en
   ICE.gov, que notificará a ICE que usted está representado.
   Su representante legal también puede solicitar llamadas legales siguiendo las
   instrucciones en ICE.gov. Solo se permitirán visitas con su representante legal en la
   llamada, no visitas de amigos o familiares.
Case 1:25-cv-00604-CJN   Document 14-2   Filed 03/10/25   Page 15 of 16




     EXHIBIT C
          Case 1:25-cv-00604-CJN       Document 14-2        Filed 03/10/25      Page 16 of 16


                            U.S. Immigration and Customs Enforcement
                                  GTMO CAMP VI
                                  DETAINEE REQUEST FORM
                                  (Formulario para Solicitudes)


                                                                  Attention:
                                                                  (Atencion)
( ) Deportation Case Inquiry (lnformacion relacionada a su caso de deportacion)
 ( ) Property Disposition Request (Solicitud de entrega de propiedad)
 ( ) Mail Related Inquiry (lnformacion relacionada a su correspondencia)
( ) Religious / Chaplain Inquiry (lnformaci6n re/acionada a religion o a capellanes)
( ) Commissary Inquiry (Comisaria)
( ) Payroll (Voluntary Work) Related Inquiry (lnformacion de nomina relacionada a
     trabajo voluntario)
( ) Other (Non-medical) Specify (Otra solicitud no-medica especifique):


Detainee Name:                                         A# _ _ _ _ _ _ _ _ _
(Nombre de/ Detenido)                                  (Numero de Extranjero)

Date Arrived:                             _            Date of Request:                           _
                                                       (Fecha de Solicitud)
Nationality:                               _
(Nacionalidad)                                         Housing Unit:                              _
                                                       (Unidad de Vivienda)


Request (solicitud):




(Continue on reverse) (Continua, en el reverso)



Department Response (Respuesta de/ Departamento):                                                 _




                                                                        Staff Signature I Title




Revised 02/2
